                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )
               Plaintiff,                    )
                                             )
       v                                     ) No. 00-199-02-CR-W-NKL
                                             )
STEPHEN V. SANDERS                           )
                                             )
               Defendant.                    )


                         MOTION TO EXTEND DEFENDANT S
                      INCARCERATION REPORTING DATE FROM
                         JANUARY 13, 2003 TO MARCH 17, 2003


       COMES NOW defendant, by counsel, and moves the Court to enter an Order extending

defendant s date to report to commence his 32 month sentence from January 13, 2003 to March

17, 2003.

                                SUGGESTIONS IN SUPPORT

       The following matters require defendant s attention and involvement prior to reporting to

serve his sentence:

       1. Complete information for the preparation of federal taxes will not be available until

some time in February, 2003. The sale of defendant s California house is scheduled for

December 20, 2002. Since 1994, defendant has been audited by the I.R.S. and tax counsel,

Thomas R. Raithel, Esq., anticipates the same and joins in defendant s request for this extension.

       2. Lois Sanders, defendant s 91 year old grandmother, is hospitalized with a broken arm

and pelvis. Surgery was performed on December 5, 2002. Thereafter, rehabilitation will take




      Case 4:00-cr-00199-NKL         Document 100-1        Filed 12/23/02      Page 1 of 4
place for 21 days and suitable housing must be then be located for her since she cannot live

alone.

         3. Stephen Sanders, defendant s 12 year old son, is having a difficult school year; has

been suspended five times. The school believes his medication for ADHD is no longer working.

His father, because of mother s absence, is best equipped to provide assistance. Bi-polar

disorder is now suspected and testing to determine the same is underway.

         4. Mary Sanders will not be released from her present confinement until January 6,

2003. Because of this, she has not attended school functions, teachers meetings nor performed

typical parental duties. Thus, Defendant feels it is appropriate for them to have a reasonable

time to facilitate the transition from defendant s sole care to Mary s.

         5. The earning potential for Mary Sanders, together with the Sanders present financial

status is as follows:

                                         EMPLOYMENT

         Mary Sanders is currently employed at a law firm earning approximately $1,100.00 per

month. She has employment as a Mortgage Loan Officer to start in mid to late January. Her

income potential would be approximately $4,000.00 per month after the first 30 days. This will

be sufficient income, but she will not be earning this until late February, early March.

Unfortunately, there is no buffer to support her in Defendant s absence. As a convicted felon

and without the financial backing to start her own business, this is the best opportunity available

at this time. The halfway house and home confinement have only helped to further set back

progress in Mary s case. According to BOP policy, you can be employed in no more than a 40

hour work week and the regular check-up calls by the halfway house only succeed in annoying

the employer. In order to produce the necessary income, Mary must work a minimum of 60



      Case 4:00-cr-00199-NKL           Document 100-1        Filed 12/23/02     Page 2 of 4
hours per week.

                                      FINANCIAL STATUS

Current Liabilities
Credit Lines (left over from real estate business)                          $35,000.00
Home Equity Line                                                            $25,000.00
Missouri State Taxes                                                        $10,000.00
Misc. Credit                                                                $20,000.00

       Total Liabilities                                                    $90,000.00


Current Assets
1994 Infinity                                                               $ 6,000.00
Wedding Ring                                                                $20,000.00
Equity in Real Estate                                                       $50,000.00

       Total Assets                                                         $76,000.00


Monthly Expenses
House Payment, Insurance and Taxes                                          $ 2,000.00
Utilities                                                                   $ 500.00
Food, Clothing, Child Care                                                  $ 1,000.00
Gasoline, Insurance                                                         $ 350.00

       Total Expenses                                                       $ 3,850.00

       WHEREFORE, for the reasons above-stated, defendant respectfully moves the Court to

extend his incarceration reporting date from January 13, 2003 to March 17, 2003.

                                              RESPECTFULLY SUBMITTED,


                                              /s/ Will Bunch
                                              WILL BUNCH #19527
                                              P. O. Box 28218
                                              Kansas City, Missouri 64118
                                              (816) 468-7266
                                              Facsimile (816) 468-7266




      Case 4:00-cr-00199-NKL          Document 100-1       Filed 12/23/02      Page 3 of 4
                               CERTIFICATE OF SERVICE


      I CERTIFY that a copy of the above and foregoing was sent by FAX this 23rd day of
December, 2002, to: Catherine Connelly, Assistant U. S. Attorney, 426-5186; and to: Stephanie
J. Dumolt, Probation Officer, 512-1313.



                                           /s/ Will Bunch
                                           WILL BUNCH




     Case 4:00-cr-00199-NKL         Document 100-1       Filed 12/23/02     Page 4 of 4
